     Case 5:15-cv-02256-VAP-SP Document 1 Filed 11/02/15 Page 1 of 6 Page ID #:1




 1   JONATHAN A. STIEGLITZ, ESQ.
     (SBN 278028)
 2   jonathan.a.stieglitz@gmail.com
     THE LAW OFFICES OF
 3   JONATHAN A. STIEGLITZ
     11845 W. Olympic Blvd., Suite 750
 4   Los Angeles, California 90064
     Telephone: (323) 979-2063
 5   Facsimile: (323) 488-6748
 6   Attorney for Plaintiff
 7
                          UNITED STATES DISTRICT COURT
 8
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9

10                                            )   Docket No.: _
     DANNY EMERSON,                           )
11                                            )   COMPLAINT for violations of the
                  Plaintiff,                  )   Fair Debt Collection Practices Act, 15
12                                            )   U.S.C. § 1692 et seq. and the Rosenthal
           vs.                                )   Fair Debt Collections Practices Act,
13                                            )   Cal. Civ. Code § 1788 et seq. and
     OCS RECOVERY, INC.,                      )   DEMAND FOR JURY TRIAL
14                                            )
                  Defendant                   )
15

16
           Plaintiff Danny Emerson ("Plaintiff"), by and through his attorneys, The
17
     Law Offices of Jonathan A. Stieglitz, as and for his Complaint against Defendant
18

19   OCS Recovery, Inc. ("Defendant"), respectfully sets forth, complains, and alleges,
20
     upon information and belief, the following:
21

22                             JURISDICTION AND VENUE
23
        1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as
24

25
        well as 15 U.S.C. § 1692 et seq. and 28 U.S.C. § 2201. The Court also has

26      pendant jurisdiction over the State law claims in this action pursuant to 28
27
        U.S.C. § 1367(a).
28




                                        [Complaint] - 1
     Case 5:15-cv-02256-VAP-SP Document 1 Filed 11/02/15 Page 2 of 6 Page ID #:2




 1
       2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).

 2     3. Plaintiff brings this action for damages and declaratory and injunctive relief
 3
       arising from the Defendant's violations of 15 U.S.C. § 1692 et seq., commonly
 4

 5     known as the Fair Debt Collections Practices Act (“FDCPA”), and Cal. Civ.
 6
       Code § 1788 et seq., commonly known as the Rosenthal Fair Debt Collections
 7

 8     Practices Act (“RFDCPA”).
 9

10
                                         PARTIES
11

12     4. Plaintiff is a resident of the State of California, residing in the County of Los
13
       Angeles.
14

15     5. Defendant is a "debt collector" as the phrase is defined in 15 U.S.C.
16
       § 1692(a)(6) and used in the FDCPA, with an address at PO Box 87, Lake
17

18
       Elsinore, CA 92531.

19

20
                               FACTUAL ALLEGATIONS
21

22     6. Plaintiff incorporates by reference all of the above paragraphs of this
23
       Complaint as though fully stated herein with the same force and effect as if the
24

25     same were set forth at length herein.
26

27

28




                                       [Complaint] - 2
     Case 5:15-cv-02256-VAP-SP Document 1 Filed 11/02/15 Page 3 of 6 Page ID #:3




 1
       7. On information and belief, on a date better known to Defendant, Defendant

 2     began collection activities on an alleged consumer debt from the Plaintiff
 3
       (“Alleged Debt”).
 4

 5     8. The Alleged Debt was incurred as a financial obligation that was primarily
 6
       for personal, family or household purposes and is therefore a “debt” as that term
 7

 8     is defined by 15 U.S.C. § 1692a(5).
 9
       9. The reporting of a debt to a credit reporting agency by a debt collector is a
10
       communication covered by the FDCPA.
11

12     10.Defendant reported the Alleged Debt on the Plaintiff’s credit report.
13
       11.Plaintiff disputed the Alleged Debt directly with the Defendant with a
14

15     dispute letter on June 14, 2015.
16
       12.Plaintiff examined his credit report again on July 29, 2015 and found that
17

18
       Defendant had re-reported the credit account to the bureau(s). When Defendant

19     re-reported the credit account after it received Plaintiff's dispute letter,
20
       Defendant failed to list the account as ''disputed by consumer'' despite being
21

22     required to do so by the FDCPA.
23
       13.As a result of Defendant's improper debt collection practices described
24

25     above, Plaintiff has been damaged.
26

27

28




                                        [Complaint] - 3
     Case 5:15-cv-02256-VAP-SP Document 1 Filed 11/02/15 Page 4 of 6 Page ID #:4




 1
                              FIRST CAUSE OF ACTION
                               (Violations of the FDCPA)
 2

 3     14.Plaintiff incorporates by reference all of the above paragraphs of this
 4
       Complaint as though fully state herein with the same force and effect as if the
 5

 6
       same were set forth at length herein.

 7     15.Defendant's debt collection efforts attempted and/or directed towards
 8
       Plaintiff violate various provisions of the FDCPA, including but not limited to
 9

10     15 U.S.C. §§ 1692d, 1692e(2), 1692e(5), 1692e(8), and 1692f.
11
       16.As a result of the Defendant's violations of the FDCPA, Plaintiff has been
12

13
       damaged and is entitled to damages in accordance with the FDCPA.
14

15                           SECOND CAUSE OF ACTION
                              (Violations of the RFDCPA)
16

17     17.Plaintiff incorporates by reference all of the above paragraphs of this
18
       Complaint as though fully state herein with the same force and effect as if the
19

20     same were set forth at length herein.
21
       18.The RFDCPA requires debt collectors to comply with the FDCPA, and a
22

23
       violation of the FDCPA is also a violation of the RFDCPA. Cal. Civ. Code

24     § 1788.17.
25
       19.The remedies under the FDCPA and RFDCPA are cumulative, and Plaintiff
26

27     is entitled to damages under both acts.
28




                                       [Complaint] - 4
     Case 5:15-cv-02256-VAP-SP Document 1 Filed 11/02/15 Page 5 of 6 Page ID #:5




 1
       20.Upon information and belief, Defendant willfully and knowingly committed

 2     the violations of the FDCPA and RFDCPA described herein, and is entitled to
 3
       statutory damages pursuant to Cal. Civ. Code § 1788.30(b).
 4

 5

 6
                             DEMAND FOR TRIAL BY JURY
 7

 8     21.Plaintiff demands and hereby respectfully requests a trial by jury for all
 9
       claims and issues this complaint to which Plaintiff is or may be entitled to a jury
10
       trial.
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                       [Complaint] - 5
     Case 5:15-cv-02256-VAP-SP Document 1 Filed 11/02/15 Page 6 of 6 Page ID #:6




 1
                                 PRAYER FOR RELIEF
 2   WHEREFORE, Plaintiff demands judgment from the Defendant as follows:
 3
           a)    For actual damages provided and pursuant to 15 U.S.C. § 1692k(a)(1)
 4

 5   and Cal. Civ. Code § 1788.30(a);
 6
           b)    For statutory damages provided and pursuant to 15 U.S.C.
 7

 8   § 1692k(a)(2)(A) and Cal. Civ. Code § 1788.30(b);
 9
           c)    For attorney fees and costs provided and pursuant to 15 U.S.C.
10
     § 1692k(a)(3) and Cal. Civ. Code § 1788.30(c);
11

12         d)    A declaration that the Defendant’s practices violated the FDCPA and
13
     the RFDCPA; and
14

15         e)    For any such other and further relief, as well as further costs, expenses
16
     and disbursements of this action as this Court may deem just and proper.
17

18

19   Dated: October 29, 2015
20                                                        THE LAW OFFICES OF
                                                          JONATHAN A. STIEGLITZ
21

22                                                By:           /s/ Jonathan A Stieglitz
23
                                                          Jonathan A Stieglitz

24

25

26

27

28




                                        [Complaint] - 6
